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                                  AFFIDAVIT IN SUPPORT OF
                                   CRIMINAL COMPLAINT

        I, Keith Fogg being duly sworn, hereby depose and state the following:

                                                   I.

                       INTRODUCTION AND AGENT BACKGROUND

        1.      I am a Special Agent ("SA") with the Federal Bureau ofInvestigation ("FBI"),

and have been so employed since June 2010. I am cunently assigned to the Houston Field

Office. I have been trained in the preparation, presentation, and service ofcriminal complaints

and anest and search warrants, and have been involved in the investigation ofnumerous types of

offenses against the United States, including crimes oftenorism, as set forth in Title 18, United

States Code, Section 2331, et seq.

        2.      This affidavit is intended to show merely that there is probable cause for the

requested criminal complaint and does not set forth all of my knowledge about this matter.

                                                  II.

                                PURPOSE OF THE AFFIDAVIT

        3.     I make this affidavit in support of an application for a criminal complaint against

Ibrabeem Ahmed Al Bayati, a nineteen year-old Houston resident, who joined a Zoom video

lecture for a University of Houston course on September 2, 2020, and threatened to bomb the

university in the coming days, while making reference to a foreign te1Torist organization. Based

on my training and experience, and the facts as set forth in this affidavit, I believe there is

probable cause that Al Bayati committed violations of18 U.S.C. § 844(e) (Mal<ing Threats Or

Conveying False Info1mation To Destroy By Means ofFire or Explosive) and 18 U.S.C. § 875(c)

(Making Threats Over Interstate Commerce).




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                                                III.

                           STATEMENT OF PROBABLE CAUSE

        4.     In the afternoon of September 2, 2020, Al Bayati, identifying himself as Abu

Qital al Jihadi al Mansur,joined a University of Houston student lecture online. This lecture,

which occurred on video over Zoom, a cloud service that provides video telephony and online

chat services, and is a facility of interstate commerce, was recorded, and Al Bayati's question

and statements were captured on audio and video.

       5.      In his question, Al Bayati asked "what does any of this have to do with the fact

that UH is about to get bombed in a few days." Then, Al Bayati stated "Dawlatul Islam Baqia"

(an Arabic term that means the "Islamic State will remain"). Al Bayati then held up his index

finger and repeated "Dawlatul Islam Baqia." Based on my training and experience, Al Bayati's

gesture of holding up his index finger, which is often known as the "tawheed finger," is

sometimes an indicator of radical Islamic ideology. Gasps from students can be heard after Al

Bayati made his proclamation.

       6.      Al Bayati's discussion about the Islamic State is a reference to a ce1tain foreign

ten-orist organization also known as ISIS. On or about October 15, 2004, the United States

Secretary of State designated al-Qaeda in Iraq ("AQI"), then known as Jam 'at al Tawid wa' al­

Jahid, as a Foreign Te1rorist Organization ("FTO") under Section 219 of the Immigration and

Nationality Act and as a Specially Designated Global Terrorist entity under section 1(b) of

Executive order 13224.

       7.      On or about May 15, 2014, the Secretary of State amended the designation of AQI

as an FTO under Section 219 of the Immigration and Nationality Act and as a Specially

Designated Global Terrorist entity under section l(b) of Executive Order 13224 to add the alias




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    Islamic State of Iraq and the Levant ("ISIL") as its primary name. The Secretary of State also

added the following aliases to the FTO listing: The Islamic State of Iraq and al-Sham ("ISIS" -

which is how the FTO will be referenced herein), The Islamic State of Iraq and Syria, ad-Dawla

al-Islarniyya fi al-Iraq wa-sh-Sham, Daesh, Dawla al Islamiya, and Al-Furqan Establishment for

Media Production. On September 21, 2015, the Secretary added the following aliases to the FTO

listing: Islamic State, ISIL, and ISIS. To date, ISIS remains a designated FTO.

           8.     Zoom I logs received from the University of Houston, indicate Al Bayati

connected to the Zoom lecture from an identified IP address, and records from a

telecommunications company for that IP address identified the subscriber of that IP address, as

well as the subscriber's address and phone number. The FBI has identified the subscriber of the

IP address as a familial relative of Al Bayati, and discovered that Al Bayati resides with the

familial relative.

           9.     On the afternoon of September 4, 2020, I interviewed Al Bayati. He admitted to

being on the Zoom call, making the statements, and claimed that the whole thing was a joke,

devised by him and a friend, on the morning of September 2, 2020. Al Bayati then gave consent

for me to search his phones.

           10.    A review of Al Bayati's text messages shows that an associate ("Associate #1")

sent him a link that day to a Zoom class, and after Al Bayati told him he had joined the class as

"ABU QITAL," the friend asked Al Bayati to "say some arabic shit and leave lmaooooo."




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 The FBI is awaiting a response from Zoom as to the location of its servers, however, open
source research indicates that Zoom's domestic servers are not located in Texas, but in California
and New York. Further, because the transmission of the threat was a made over a facility of
interstate commerce, that does, itself, constitute a transmission in interstate commerce.


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       11.     After the interview, I contiriued to review his phone, and discovered that in

October 2019, Al Bayati told an associate (Associate #2) over a certain social media application

(Social Media App #1) that he used another certain social media application (Social Media App

#2) to find ISIS supp01iers. He then gave an example of where he helped an individual in a

certain foreign city, who did not speak Arabic (Al Bayati speaks Arabic), but, according to Al

Bayati, he "made him say the pledge thru voice messages." The "pledge" appears to be a

reference to the pledge potential recrnits make when joining ISIS.

        12.    Finally, as late as May 2020, Al Bayati reminded Associate #2 that he had told

him about recruiting ISIS members from a ce1tain foreign city. Al Bayati also explained that he

was "literally known" as an ISIS recruiter.




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